Case 2:04-cr-20421-.]DB Document 91 Filed 04/19/05 Page 1 of 2 Page|D 78

  

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W.D. OF TN, MEMPH[S

UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 04-20421-Ol-B

COREY GREEN
Defendant.

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ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came on to be heard on April 18, 2005, the United States
Attorney for this district, Lorraine Craig, appearing for the Government
and the defendant, Corey Green, appearing in person and with counselr
Gerald Green, Who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea

heretofore entered and entered a plea of guilty to Count 2 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, JULY 19, 2005, at
1:30 P.M., before Judge J. Daniel Breen.

Defendant is remanded to the custody of the U. S. Marshal.

39
ENTERED this the / day of Aprilr 2005.

/A

. ANIEL BREEN
UNI ED STATES DISTRICT COURT

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UNITED sTATE mle COURT - WESRNTE D's'TRCT oFTENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 91 in
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April 19, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

